Case 18-30623      Doc 1273      Filed 12/31/19     Entered 12/31/19 10:55:36        Page 1 of 3



                        UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF CONNECTICUT
                              NEW HAVEN DIVISION

*********************************
IN RE:                               *
                                     *
THE ROSEGARDEN HEALTH AND            *
REHABILITATION CENTER, LLC           *
                                     *                             Chapter 11
BRIDGEPORT HEALTH CARE CENTER, INC., *
                                     *                             Case No. 18-30623 (AMN)
       Debtor.                       *
                                     *                             (Jointly Administered)
*********************************

 WITHDRAWAL OF OBJECTION OF THE SECRETARY OF LABOR TO THE CHAPTER
11 TRUSTEE’S MOTION FOR ORDER AUTHORIZING TRUSTEE TO WIND DOWN AND
    CEASE TO OPERATE BRIDGEPORT HEALTH CARE CENTER, INC. AND FOR
                           RELATED RELIEF

       Now comes Eugene Scalia, Secretary of Labor, United States Department of Labor

(“Secretary” or “DOL”) and respectfully withdraws his Objection to the Chapter 11 Trustee’s

Motion for Order Authorizing Trustee to Wind Down and Cease to Operate Bridgeport Health

Care Center, Inc. and for Related Relief (ECF No. 1174)(“Chapter 11 Trustee’s Motion”). The

Secretary’s Objection to the Chapter 11 Trustee’s Motion (ECF No. 1220)(“Secretary’s

Objection”) was based on the existence of a potential buyer and in support of the Objection of

Council 4, American Federation of State County and Municipal Employees (ECF No.1216)(the

“Union Objection”). Despite great efforts by the Chapter 11 Trustee, the State, the unions and

hundreds of employees to avoid closure, the only potential buyer has withdrawn. The Union

Objection has also been withdrawn. Therefore the Secretary has no further basis to maintain his

Objection.

                                     Kate S. O’Scannlain
                                     Solicitor of Labor



                                                1
Case 18-30623   Doc 1273   Filed 12/31/19   Entered 12/31/19 10:55:36   Page 2 of 3



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                              Date: December 31, 2019




                                        2
Case 18-30623       Doc 1273       Filed 12/31/19      Entered 12/31/19 10:55:36          Page 3 of 3



                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 31st day of December, 2019, a copy of the foregoing

Withdrawal of the Secretary of Labor’s Objection to the Chapter 11 Trustee’s Motion for Order

Authorizing Trustee to Wind Down and Cease to Operate Bridgeport Health Care Center, Inc.

and for Related Relief was filed electronically and served by mail on anyone unable to accept

electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of the

court’s electronic filing system or by mail to anyone unable to accept electronic filing as

indicated on the Notice of Electronic Filing. Parties may access this filing through the court’s

CM/ECF System.


                                                       /s/Marjorie A. Butler
                                                       Marjorie A. Butler




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